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 6
                              UNITED STATES DISTRICT COURT
 7                                 DISTRICT OF NEVADA
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 9    UNITED STATES OF AMERICA,
                                                             2:14-cr-00249-APG-PAL
10                             Plaintiff,
                                                             MOTION FOR LEAVE TO FILE RESPOSE
11                  vs.                                      TO DEFENDANTS’ JOINT MOTION TO
                                                             SUPPRESS PURSUANT TO FRANKS v.
12    WEI SENG PHUA, et al.,                                 DELAWARE (Doc. # 232)

13                             Defendants.

14              COMES NOW the United States of America, by and through DANIEL G. BOGDEN, United

15    States Attorney, and Kimberly M. Fray and Phillip N. Smith, Jr., Assistant United States Attorneys,

16    and respectfully files this Motion for Leave to File a Response to Defendants’ Joint Motion to

17    Suppress (Doc. #232) Pursant to Franks v. Delaware in Excess of 30 pages. The response was due

18    on November 7, 2014, however, we were unable to file the instant motion due to the CM/ECF

19    system being down the evening of November 7, 2014. Defense counsel has no opposition to the late

20    filing.

21              Pursuant to Local Rule 47-7, unless otherwise ordered by the Court, responses to motions

22    shall be limited to thirty pages. The Government seeks leave to file its response to Defendants’ Joint

23    Motion to Suppress (Doc. #232) Pursant to Franks v. Delaware in excess of the thirty-page limit to

24    properly respond to the arguments contained in the motion.


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 1               The Government anticipates that its response, including the table of authorities, table of
 2    contents, and the certificate of service, will only exceed the 30 page limit by approximately 23
 3    pages.1 The Government will provide a courtesy copy of the extended Objections to the Court.
 4               Wherefore, based on the aforementioned information, the Government respectfully requests
 5    that this Court grant its Motion for Leave to File a Response to Defendants’ Joint Motion to
 6    Suppress (Doc. #232) Pursant to Franks v. Delaware in Excess of 30 pages.
 7               DATED this 10th day of November, 2014.
 8                                                                    Respectfully Submitted,
 9                                                                    DANIEL G. BOGDEN
                                                                      United States Attorney
10
                                                                                 /s/
11                                                                    KIMBERLY M. FRAYN
                                                                      PHILLIP N. SMITH, JR.
12                                                                    Assistant United States Attorneys
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          This page count excludes exhibits.


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                            UNITED STATES DISTRICT COURT
 4                               DISTRICT OF NEVADA
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 5
      UNITED STATES OF AMERICA,                     )   Case No. 2:14-cr-00249-APG-PAL
 6                                                  )
                          Plaintiff,                )   ORDER
 7                                                  )
        vs.                                         )
 8                                                  )
      WEI SENG PHUA, et al.,                        )
 9                                                  )
                             Defendants.            )
10

11            The Court finding good cause and based on upon the information provided in the

12    Government’s motion the Court hereby:

13

14              GRANTS
              _______________    (Grants/Denies) the Motion for Leave to File a Response to Defendants’
              Joint Motion to Suppress (Doc. #232) Pursant to Franks v. Delaware in Excess of 30 pages.
15

16            Dated this 17th day of November, 2014.

17                                                          _______________________________
                                                            HONORABLE PEGGY A. LEEN
18                                                          United States Magistrate Judge

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